    Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 1 of 23
                                                                                          FLED IN   CII K

                                                                                          ~     DEC 212020          ~
       t’~’~.’..c            c~.~%

                      -~       ___               ____


      cs-——. ~                                   ~                                                   ‘—y-’     ~

     ~ tr-?~e_-~ ct~                                             ~c,    ~                               ~-i~


     0   ~              \—..   ~             —   —.-




                           ~                            ______                       _________________________________________




            -~         \N-.c~           ~¾:                      -\-\-_ ~-                          __                  -




      “C—        ‘~   c_~aO              —_______                                        ___




       —        —r.   ~        czI....rcrC       ta,J Ca~.

    ~                ‘—czar.≥s\          ~%~)S~

                                                                              ~

                 -F        ~            N_-ea~ e_\            ZSD~.-’ ~                                        _________




     c~~C.,~C5_                          ‘—\zca-.r               c~.~.___ Sc~e...____

                      o__

                           a—        nc~.              ‘~ioe~                              ________________




~                              c   n         n~c~czn                ~>-fl~. ~R~r
     •t~                             ~                   ~ ~%-N~~x ~c~s~t$i~                                ~           __




      p          ~     ~,-≥s_Sz~ ,—.≥~                               ec~ce

                                                        —s- ~
                       e~r         c\-~c~e~                      ‘c~s~\-__%o              ~es-tc~cC.

            -r                      c                                  ____




—     ‘ç’~o~c_.            ~.      -~èr-__tçct~___~≤                               ~ -erS\-

                      ___—a                              ~-   ~~--c~    -    ç~e.-..r.

            ,~r-           ___                         _____                 ~c’~ ‘~C               ~‘n        ~C

            -    ___                                    ___________________________
              Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 2 of 23                                                                                                 a

________                                                                       e   ~           .S.e-Nne                cv~                                         ‘-Sb.

                                                                                       r~ fl_                 \j   C~,,       ~•                           C    ‘t-jN           cl_N cC’~
____________       .4,   X,~                 —_~-..%-cS~                       --\~-~      e           C_fl~—,~                                 nt~1                                     —




_______________   ‘~-._.3—2ts.~_%De,,_                      %~t~≥%. -.                                 .._.                                 e        n-..re,-c~%r__—\-o

_____________             n.\                                                                      ~ cv.,cnc-,~                     ≥%                                  c~me
                                                                                                       cm     -‘~.     ~            ~—_ —            —.r   —




                                •    -                                                                                             a~   ate-.~                      -   -




                                                             —      -—      a


                                         -                  —c_%%__ —


                  ~                                             -        — —       —       —                                                                    2%:..

                                —.       —            -..   C                                                      _   —    —. -    -   -       -.         _.       ~



                                                 -   —                                     -                           -c    -




                                                                           -                   L

                                                                                                                                                           as.              -




                                                                                                                                                               —




                                                                               a                   a   -           a                    _______________




__________                               ~           C~.-%. ~z-ci~-~S-- ~                                                     ~                                                      -




_________                                                   C c Th             CJ2CN               C       4~’~Th~
                                     -       a   ‘....rr~.               p—~           ~                           ~                                       ~—.          ~-sce_           -




                                                                                       ~ ~ ~                                 —      c_o ~
                                                                                                           —~      —~



             C{f         ~          C%D≥S.ce,,NNr-..c... C                      ~ z-J~,~a              N-s—..   ‘r—~

                                     ‘-.s~                                         fl      ~—è-...              0-_~               ~        ~




                                                                                       a                                      w-        —
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 3 of 23




                        -‘   ~                                  ___




                         ~              -%~   ‘_%~        C_0~\-3             \-~~,,___________




       fl~______                                          ~ ~%E&                      _________




      ___                          ~≤s&?~                               ______     __________




                             e~crc                                     ________________




        .,,                       C~      ‘~r -C~ ~ C~r’~~C>r,

        a         °~                                      c~Cck           ce~ice~~


       c~.                                                                --__________




  N    ~                               _____              ~-o’~       Nc~_sa~2,c~ -.J~,.

                  —~~~___                                       ~N-~a~___



            •_C____                             ____               _________________________




___   ____                             ~                   ≥%DNr~,~ ~___                   —




            ~ cts_c__~≥~5t_.e_%c_@~_..           ~


                    •             O___                    s~r        C~__‘~STh,C~C ~C4~.____



            %~_   -ie~~           c~    ç—.--c~-~c~~.           ~             s~Sc&s.S~z

              —≥srta_                                r~Si ~               -




  %‘~             c~.        ~            ~
 ~ ~E~C___                                                _        ___________




              e

                                                          ___c~c~r                   ___   ___




                                        ‘%—‘--ZC’&~        4Dst≥CZ~-cC~c~ cte~____


                                          f~
                                         _____       cs    -~c._
                                                                              ~

                             -~                            •c      ~O~r       S_N~ C~
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 4 of 23




                                            a

         —



                                                            -       ~.    a


                          —   •~




                              -




                      •                    -




 k




 k~.
                                           ~        ~       %....     %            ~       CC   —




                                   —



 -a       --a-                                                             -




         -a—


          —       ~                             -




                                       —                                       ~




 -            a   —                                         —~ ~




 Ih.                                                a   —       ‘~.       -‘




 C—
     •   —        a                                 aO,                                         —




                                   —       ~.                                          a




 I                                              a
        Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 5 of 23




      —             N ~ _s.~ ~                ~         ç’ç-%..,.                 c-c~-- ‘-~Z~~r_c.--_a> ~            —



              II    ____         ____                                        ~                      ___                   ___




                        ___          ~             \~         ≥rcs \t~            ____        ______       —




                             -   ~ %-%__D, —‘                       ~            -‘



               I    \                          a                    1,
                                                                             ~

              I.%       c~c~       ‘-~        N-oc~s.                        c~.          ~ sc~.           -




                                              —____                       __                                      ____




                                   %_~   -%                                                     -~     -c .—‘SN
                         ~       ~z-e-~r        ~Z,                  ____




                    ~                                   -.c              ~                                                    -




                                 c~,_—~-_N~                                   ~                            —______




                          or~≥i~                                         cz~sz~s~e       ‘—   ~~-rc~--~--r        -




                        Ncs.cz___             -c.~.     ~                              ______________          ___                —




                           —_-c~s’~3a~%st.ç.~.,       r~E~ec≥~rr~            c                      r..~                  0

                          ~%sN%               ~           c~r~-.                      2z~.≥’s~—ac.s’~~--                  ~




                         ~         ~-                                        ~




                                     -_______________________________




________________                                                                          ~-z
          I                                                              ~

                                                                         —   ~




       —                                                                                      ___




       ~                                                                               ___             ___________
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 6 of 23




         a-


 in                                                     I~—~-.       c%~L~S~~        ~_                              -




      -a              —                             e                   a              ~-                 i,



                           —                            .c~~%O ‘JE—~,                  cn     ...,                            ~
                                                                                       0
                                              a                        -~             ~              —         ~-




                                                                 a                           -a


                                                                                                                         —




   __—        —                -      a~                    ~


                                          -       r%~ee.         Ns~ra-e-....




  —a- z—                                                    — ‘-       N-~r—er-.~fl                       %J.%_c~c4_.~


       S_a.       %eC--%


                                                                                                               aaa~


                                              c    r-.-N-~. ~~scjS~                            n               ~                  —




                                                                          N__~%   —_°--—-_C---~--~~   r




                           —,   -c_                                                                                      a

                  -c~N<e~~                        -~    c                                                           ~             Q~r~%

 a                     ——             -




                  c~c’C~~. ~r%%c3se.aN~-e~~.                         “~      ~                                                     —




 r-
 I
    )~-                                                __




                               ~ C~=) C ~Th-CAZ~                                                                         C\~’\

                                                                                                               —



                                          •                      __________                                                  -—




                                                                                                                    c~   ~-
  Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 7 of 23




_________             ______          _____                                                                      —




              ~                                              ‘-......~   -c-.~-.)”~.ctè,.           SV≥SfSr,..._SJ.

                              ____Vs~._~OOicc~S2DOO~                                          ~--   \    a-~’~-a
  ca.)       ‘—.




              ~                              ~Dcz    L~S?SdC~S              s~t%%,~sszDz~1_.

                          ~S~;:~.O        —c~cc3    ~       ~%N4—%,.ja                ‘r~,




                   ~tc~c2~czC- ~
                                                                                                     Q~._________
                                                           ~             ~                              cr~~ ~
                             —a                      —~CC- -_≥%N~c~_‘c                                            -   —




                      ~
                      —               ~                 csn~,__                                                  _____




        t.                        c                            ~ CiTh C~) CC).

         ~        c               ___               ___-tD≤’~-•      ~ CC                      —          -t--a.      -




             a




                                         c__≥e~__s~-~             C                  cc~-j~-~.

         —            c
                              -      a             __                         ~%‘s~—          —~r~
             cm ‘.s~                 —                                                      _____




              a                           ,C’~Ve%.           NN~~~2~.______
                                     a.                                               ‘--‘t~nc~.
  lb     ~                                                                                              ___      ______




       It—            a~ cZ—~e~~- CS-                        ) Ct~ CS) CC’~                             C~r.≥S
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 8 of 23




                                                                                    ~E≤5!r-~ C cs—’
 I ~.— C~’ C’          —~




~
~
                      ~

                                           ~
                                                                  fl

                                                              -C~’-\
                                                                                     C

                                                                                     C-.   -



           ~-c-~      -~-




     pcc~..      e.   ~-,                   a,.        cr-~€~-—~cnc~

 N~        -~   cD,’%,c-e~_                o-’-c~\--~. c-.,----..           -




                                           \c—                                  .                         -   —              ‘~   —   a

     ~                                ~.       ~≥_-




                 —                         —                                —



                                  a.



           ~-               —.-                —                  —                            —‘— -t-_



     ~          ~-      —         -




     —           —      a



       -                                                  a            --                  ——




                                  E
                                  a.                                                 —




 i                                                 -                                                              -




 a                                                                      -   -         -               -       -




 fp~       ~          C~              ‘\   ‘?≤Z\                        Crcz~’s0~e                                     ~
CNZD~%~\                    N ~
                                  -~



            ~                                                                                             a   —~             —    —




 ~                                                     -•-‘                                —      a

 ~ ~%.                                                        -        c~rc--e~~ssaX                          carà.sSa~n.-.. ~

 ~         a                                                       cc,. ~                      ~-~-                   c-   c3~

 a


~                                              -                                    C c                       --tn≥~~a
~:Dn~t~,                    ~                  “% -‘ w..%%1                 ~f~~~t-r                      ~_‘c≤Dctcv—~z.
       Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 9 of 23




                                         ~Ns2,st~-        \~%    c~c~,’&jNc,c

            ‘_\                                          c2,~.     C                ___           _____



       ~—cc~-~o,c~.                  ~                     ~           ~                          _____




                                               ‘—~-.~_   ~       ‘tZxD,~-e~,.s...oJS..    -



            ~                ~            ~
               w-    C       ~\e.n       ~               Li_~~___




                                         %~flct~         ~-~-~s’--_c.___________



±                     ~-~cz~
                ~ —~cC -~%~~--_-t--%.           0.zt-    ~rc__ca~%~             -                 ____




           p    r~       ccà~czc~ ~                                                 _____________




           “~sa\—               ~ -~~\




                \S~cs~,è,      °c~-cDs~st~~.     ‘%J                   ______________________




        \~\_\    ~_~•                ~              -~   a. ~c4s~x~t.
                     ‘cm.      ‘~—   ~           c±~cNs=$2~     ~—_~ ‘~\.______________




                         ~           S            oer>c~__c_~,c~~’

                                                         ~ ~                              \s::≥~cA~

-‘--


                             ~cnc~Lcsr~-                               __                     d   -




                                           ~-2~___




                              ___        -~≥s~c__                 -~t≤-~    -                         —
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 10 of 23




                                          a-a




 II
 ~           ~                                                .~   ~




 j                         ~                   C ~            ~       ~            ~ -




 ~               .~?≤,e__t_           -   ~t—a( N.      c5~z, C’?-~... c~m t~-\ \ç
                                                         .~          —                            ~“eD,- ~i.
     fN o~S,~n     ~                      \C         S~≤S\ ea\-       ri C            ~.




     ~




     ~                 —   C         ~         c~t~         ‘~a~e-~ .2Yo\~\                ‘~t.J\-_
      ~ cc                 C,        ~-~-          ~     C_-n. vc’~e   %a\sj               \~s.   a-cm\S N
                                ‘-


                  -                                                          a..


         ~   a


 ~ ‘~S~                                   ~          ~             e~r)sc.~..~4\~e ,vw-e-cE%
 I~                                       N
r~ç~~cs          ~c-~                 ‘Nr—-e ‘a~         ~ \.            c~S~              Ce     C~
 ~                                             ~


     a   —                                     c     ta

         ~        ~



     ~                 Nj~n~-e                 -~-o       °=~\-          c~


                                          —




~
 1s~_~_~\ -c                         ~--_~ic~’~ ~~%ç_              ~%-‘~s~~ ~




 ~
     r       ~~
                      -. ~                ‘N
                                                                            ~          ~     ~—



      ‘S-_.,c-._ ~     -
         Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 11 of 23




         ~ç~N~c_~-_oa.≥,c-                ~c~st,~Z& c~nt-., ~ c
                          S2~c~__N                  c~\~e~~cs\



              r~—~        0_C~c-
                             -‘ac
                                                                           __________________


                                                                                               _____




__________    ~___                                                   _____ _________________




________                                             %

                ~ c&~cs~ ~-~s
                  -       ~                    ~‘   ~—.s
                                n-ci%-         CO~ç.~O~                %~CCc,~-~- c~

                                -~ecà’c-        Oc2~na~ N)

             ~-c~--..     ~                               \.J   \   ~er~
                          \-_CJW---.      ~
                      •                              *    ~          ~.    ~   ~\ 5t ,3>4 J≥CaC

                  -         c             ~     N~c~cc
                                                           ____                   /             ____




                                                          ~Cc~Cam~c~                  ‘~4
              <Nt~~t_               ~      c-~                  ~                     \   cs
          ~ cncn~a~c~tQ~


             ‘—~~;y--~                ~             \J.                    ____________



                                -   C —                              a-c Q—c.~


                                                           ‘-a.. ~
                      ~                                             z’c-oje\_s~c~


             a.                      ~.
                                           \                               1   ___________________
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 12 of 23




                           -~    0




                                                                                                                     Cr)       t~~j         Ca-c’ ~)
            ‘%.O.C \c<~              \~_~A)




    .a.                a        —.           ~         ‘-a                  c~-~


    ]~_m-~-~--                        ~.                   crw~                        w-~                  -


     .,~-           ‘C      ‘~                                                                                   —




     ‘~-.                                             -.       —                     t       —




                                                               -‘                s—\_.           £-~-           ~ -.       —~~----.




~   Ti    c~.-nc.~c-a                                                            C~    ~.-                      nee ~s             ‘cnr~çn~%r_


                                                 a-                       —




     ~                 C                   ~                                            -        ~                   VC’           Cm   flSN,~




                                                                    a..
                                                 —~                                              —




                                     —                                                           .-~.——




             ~                                    -   —                                                 \r~t               ~

             -    ,.                                                      ‘..,   CD>                 -..,        a.    a   a   a




                                         t~      0    -         ta                                                                         -



                                      .      —   .e        —        -e                               w-~                                  s~≥’~ :c.a~.

                 ~ -‘Z~              ~                                                      ~    ~                         4we. -e c             -




                 -‘~&Ex~v---             -   —




~                                                                                      m. e~                ‘~~~‘_-_cx’-&9              %°~ ~

                                                                    e

C—                                                                               a                          a



                                      N-
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 13 of 23




                                                         \         OCE_c4 \

    I1   ~                c~n~c            ~t%\ ~



                 —~                       ~



                 ~   c~     ....   -.s~              c_~.—.-..                   _________




                     ~                              N~
                                    %.‘-_‘~~~~_~c3n_4Qs~..~~~ ~~fl%~>



                      a-c a.=o.                         \+
                                          ‘~-~X \—Ei~____
                                                       n-c-                    _________




C                                   Cc’ ~e




             ~                                                      ______________




                     ~-~-                                _______________________




         —           s-___C_.c~_.~_                              ____




             c~-_~=5~                               _____                 __-___




    ~~                                                       ~

    ~                                      ___                          ____   ___




                                          c_c—t.~.,a~X.._\≥sc,~.c~\-                 ç~c

    cpn~         ~




             -   __                          ___         _____________




                      ~z~sc~-             ~                                    ______
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 14 of 23




                                                      —   —.—-—




                —        —~ a       —                                             C c—.—,.    ~.   c                 n


                                                                                                            w



  II~       t                  —        ——   —                          a



            a            ~                   a a’          -                         a       am.
   ~                 —         -                               -               a.....
  I     -                                                                -




  H         -~~~‘-                           ~                      \~s,Fa.~,c2~         ~—‘..         ~
  ~                                                            ~               ~              ~
  ffr~c~_~           fl.%    fln~’—~~’~          ~                 ~                     ~




  ~


 ~              -~       ec&                                            ,SJ      ~NNca~~       VS.’%J.~s
  ‘~—\              ~ o~c- c-.~-                  -                                      -   N\     ~D½CNP~-C)



  fr~                        ~C\~\                             ~
                             ~5E______________________________________

            ~

 4Ih~                                        -.....




                                        -c.X                                                           -‘   n.           -p

                              ~                  ,                      c—’   ~ c—~ c—~                          -




 4N
                                                                              CcTh~


                                                                                               -             ,



                         ‘~~-e

                              -C------ ~                  Ca       C.


                                                                                                   \c-%c
          Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 15 of 23




                                ~%~_ach~~—          CC~~S~                O_~C~b -n.e   ____




                                               ‘~   ~cc~ci~~


                            ~~n~__

                                         fl≥s~.     ~ ~~zst’____                        ____




          ~fl                   a~                  ___   ___




               V ~~e_               ~                                 ~   ~ ~
                                               ~                      ~
                  ~_~a~Z~Q
                                ≥%N~~                                        ________




                  ~~cec3~LcD_o ~                          0~   ~\ Cc~ C≤~ \se~A~_
                  a-                           ~           ~
                  —                                                       ~

                      r              ~S        ~




                                     C_cZ)_Cn≥~     ~

               ae..              c~c~- ~                                                -


              —   a   .~        a    \,j\~          ~

                        •            ≥~-~-—-        C~4r-_                 Sc~
                                    ~ ~
___________       ‘.~                                          ____




___________   ______________            r~fl               ~

                                               ~               ~



                            a             m____
  L                                                                _
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 16 of 23




                                                                 ..~t...     a



                                                -       a
  ~—J%--:~\-_    ‘t-~-s                                                                             S
   I
                                                               a    a        t.   —             —       —

       -   - a             ____________________                    ‘~                       -   -




  I—                                                           a




                                -~   —   —                                                          a


           ‘—S.-—   ~-,   ~ —   ~            C≥—.,~,_       C~.c_-.n._sç_c   ‘s_%. N~   ________________




                                                    —‘~~t
                                                        C                     -~ ~




                                             ‘~.1   W~~%.C3.\      Cir~~.
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 17 of 23




              ~~~-N-    \~~~~\V\                 ________________________




                       ~                                                      —                   _______

            ~ V%r      c~s--.&~4tt,      ~              ~       ~      C2~_~L\       ~

                                             ctsn~                                      ________




                       c~__a~a~-~                                         4~~O~3         ~

  c~cr~,a, \—~z~~ ~                                    __                                   ~




        -       ~2%%~j~                                 c_c~C~ -seo~Ert~
    —            =c2~i’tD~      ass?s~\~_~~ia.                              ___________




              ~                              ca\~≤Dfls~A\ ~

                                               —._____________________________



  r-_≤≤’%-             —__~—N~bcc.2ZSr        ~


                                           ~%~ct~t              \≥sz~c~\-~         ~
              ~                                                         ~


                                      &t.~e~___ C)                                              ______




                        ~vc,~ct~v~           ~L.-e                    ________________




    —   -t.    ~         ~ S~a                               ~                ~ ~sA.
        1~—≥4~C        ~tZ~t~O    —




        -     ~              -c~~-z4~                     ~N~a~rcn~_____

 ‘Ac ~                                ____            ____                                   \-




        ~—




                                                              r~ç~ ~~~\-e
 ~ _A.c—cD,.-..S.                                    _____________________________________________________




                                      “N ‘~—~z-_..     \~c~.e                                     ______




   -                      ___




                                                ‘~_____                    ____________________
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 18 of 23




                              a
                          —
                                                              a         -   e
     t~Ds


                                          -.~r   ~a.   ________________




                    a


                -   N ~            __________




                                  ‘~     D~scx.




 L a.. ~        —
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 19 of 23




                                          4__         ~              ~ _~S-’~.--~-sz_. _~c~c~—~

                   c_                             ~                                  _______                  ________




                                          -%                                     ~    ~                         ________




                                                                                    ~%\C~C~A~            -\-\~e_

                                              —                                ~      —.s

        —        ~                                ~_%                                 ______




                                                                                                        -________



—       ____--              ~                                                  ~
                        %                                       — %%_~,_j.   .~j__~~_________________     _______________________




 ~                                                    ~-c~
                                                      -..c≤”0 t≥yt.S~.                      ft~~Dz~r ‘_\

        ‘~c__               ~




            ~                  —c.~c~—            —~-S-~t-n_                   ~— ~—.-—_________




                 ~      •%~              •—   ~%~?\     C_c~fl’%e~’~~                           _‘~_s_~


            _—z~_c_            c.tt~.~.~.≥5Jt__.4s_. —‘                      ~                      _______            _________




                                                           ~


            -   -C          -..,-~        ~            ~c~—                           _____              ___________




    I   —   -           ~                                 __                                                       -




                                              __                 —                          _________




                                                  ~                                          ~




                _____          ~-.       —,       c_~________o       -‘   ~      .~s.a≥,≥S≥sc~


                                     —                    c≥,-,)~a
                  Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 20 of 23
                                                                                                                                 c30




        ~~

                                                     n~
                     S        ~                                    ~n




                          ~               _____—                  ~       c—i.                                                    ___




_______              —                    ‘~~-C             VCc~r≥r          ‘~C           ~



_________                      ______               ____ ___          -_     ___                     ____                ‘—3-~

                              c    ...-




                                                                                ‘-~~   ~                              ~



                                                                        .‘
                                              %-~   2~rs C            c~-c-
                                                                              ..~
                                                                                    \ C)
                                                                                                __
                                                                                                %—n.._’-      -~‘t-   ‘nt.
            S                                 I~
                  ci ~
                                      -                     ___c~~a~____

                    ___________                -e   —                 ______               “~


                   =~e~-                  c-~                         a      ~       ~          ~C~3N%     cv—~

                         C-


                     .                                        -‘      —




                                                                   ~




        ~-.                c—~c-~-%c~. r’.__s-~         ~   >~n.szz ~                                                        ~

      ~                    C
        ‘L~                                                   ..,—~       ~




        ~—iC~.       -.   -≥~~S~          ~
            ~ I               -




       ~
        tr’~—’                r-    ç~-
                                          ice
                                              ~


                                                            fl.
                                                                              ~


                                                                                 ~                       ~

             —                —      c~a-:~nc~r-~__-a__S

                L                                    -N≤~. ‘<~c..-t.--....
             S                a
     Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 21 of 23




                                              a          —       ~~a~t—


    L.
                   a                              e~r




                                              ~ ‘~r -er--.a




    I
                              a             Cc’          —    ‘-&to        ~.         c-%




                       0   ~-      —                 C -                   C’


t~_<~                                         ~
    ~              r                e-..                 -%   ~-..e                         e       %~   S   ~   -




    ‘S,c≥~~~n~%o              -‘            (Nc—..




rHh~                   D~..    ~.




~lr~ :~                       S~C                              CC          \~..—...


                                                     a   —                      a.—



              a- ~‘a                                                   -                -       -




          —                                °--    ~~-‘--~‘




         t~                                          ~ r -er-.fl      e~::~b     —~z~s~_r-.~%- ~ ~

C                      ~ ~ct~C                                  ~-reZ~                 c~5~F

TP~m1E~e~_Ccm                          C 1m
    II
              -r                                                               zI~OCzc               c_~     -




                                                                Cr~ ~tm
Case 1:05-cr-00477-MHC-GGB Document 1782 Filed 12/21/20 Page 22 of 23




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     Case 1:05-cr-00477-MHC-GGB Document
                                      —1782 Filed 12/21/20 Page 23 of 23
                                                                               99T2 001
e~sD~t~~             c~°~-~
                            • n~




                             -~    ‘~\
                           :~-   cc~tz~                                       ~naauoqLvu1q4~
                                                                           nrniaaH.L OJ~dO1~AN~-


__   n   ~-~cs-~-      -%--~&
                                              c≥r-O




                                                      c,-s~=’~z ~
